     Case 2:08-cr-00085-LRS    ECF No. 233   filed 10/16/08   PageID.705 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )    No. CR-08-085-RHW-8
 8                                              )
                        Plaintiff,              )    ORDER GRANTING IN PART
 9                                              )    DEFENDANT’S UNOPPOSED
      v.                                        )    MOTION TO MODIFY
10                                              )
      MICHEAL J. CHARLES,                       )    ---- ACTION REQUIRED ----
11                                              )
                                                )
12                      Defendants.             )

13         Before the court is the Defendant’s Motion to Modify Release

14   Conditions.     After reviewing the Motion, the court has determined

15   that good cause exists to grant the Motion.                Accordingly,

16         IT IS ORDERED Defendant’s Motion to Modify Release Conditions

17   (Ct. Rec. 223) is GRANTED in part.               The Defendant is allowed to

18   leave his home for lawful and constructive work purposes and may

19   actively look for lawful work, as long as it is approved through his

20   probation officer. In addition, Defendant may not be self-employed,

21   and the nature and details of the work and salary, including the

22   name of Defendant’s supervisor, shall be verified and approved by

23   U.S. Probation Officer Sauther prior to employment.

24         DATED October 16, 2008.

25
26                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
27
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     ORDER GRANTING IN PART DEFENDANT’S UNOPPOSED MOTION TO MODIFY - 1
